














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


									




NOS. PD-0580-13, PD-0581-13, PD-0582-13 &amp; PD-0583-13





PAUL MUNOZ, III, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE ELEVENTH COURT OF APPEALS

MIDLAND COUNTY




      Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because it does not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.


Filed: September 11, 2013

Do Not Publish


